                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI


H&R BLOCK EASTERN                              )
ENTERPRISES, INC.,                             )
HRB ROYALTY, INC.,                             )
H&R BLOCK ENTERPRISES, INC.                    )
AND H&R BLOCK AND ASSOC., L.P.                 )
                                               )
               Plaintiffs,                     )       Case No. 06-0039-CV-W-SOW
                                               )
               v.                              )
                                               )
INTUIT, INC.                                   )
           Defendant.                          )



                                               ORDER

        By agreement of the parties in the above-captioned case and for good cause shown, and
after hearing arguments on Plaintiffs’ Motion for New Temporary Restraining Order and Request
for Preliminary Injunction, and receiving submissions from all parties regarding said Motion, the
Court hereby orders and decrees as follows:

        Intuit, Inc. represents to this Court that it has instructed its advertisers to pull the
soundtracks of the advertising campaign that are the subject of the Complaint filed by Plaintiffs
in the above-captioned action and of Plaintiffs’ Motion for a Temporary Restraining Order.
Intuit further represents to this Court that it will use its best efforts to ensure that any current or
future advertising shall not be broadcast or otherwise disseminated from the close of business on
January 20, 2006 through April 30, 2006 that contains the claim, or substantially equivalent
claim, that “more returns were prepared with TurboTax last year than at all the H&R Block
stores.”

        Intuit has represented that it took the aforementioned actions and agreed to the foregoing
terms based on Plaintiffs providing to the Court and Intuit this day the total number of tax returns
Plaintiffs contend they prepared last year. Intuit disputes the validity of the number of tax returns
identified by Plaintiffs. Plaintiffs dispute that this was the motivation for Intuit’s action and
instead assert that Intuit agreed to pull the language in question because it realized it was unable
to substantiate its claim. Intuit disagrees with Plaintiffs’ contention.

        It shall be a violation of this Order if Intuit does not comply with the representations
stated herein. Based on the foregoing, Plaintiffs hereby withdraw their Plaintiffs’ Motion for
New Temporary Restraining Order and Request for Preliminary Injunction.



         Case 4:06-cv-00039-SOW Document 18 Filed 01/18/06 Page 1 of 2
      IT IS SO ORDERED.


DATE: 1-18-06

TIME: 9:45 AM


                                              /s/Scott O. Wright
                                              SCOTT O. WRIGHT
                                              United States District Court Judge




       Case 4:06-cv-00039-SOW Document 18 Filed 01/18/06 Page 2 of 2
